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UNITED STATES DISTRICT COURT05 JUN "3 PH 3= 53
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WESTERN Dis¢riet or TENC§§F§§EW,‘ stiff/regis
United States of America AME N D ED
ORDER SETTING CONDITIONS
V. OF RELEASE
JOSEPH JORDAN Case Number: 2:05cr20051~D
Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:
(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

directed The defendant shall appear at (if blank, to be notified) Report Date, 167 N. Main , Courtroorn #3, 9th floor

Place

Federal Building, Merrrphis TN 38103 on Julv 21, 2005 at 9:00 A.M.
Date and '[`ime

Release on Personal Recognizance or Unsecured Bond
IT IS FURTHER ORDERED that the defendant be released provided that:
( l/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed
( ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars ($ )
. _»__‘___
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed

 

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E§iAO 1995 (Rev. 5/99) Additional Condi`tions ochlease

 

 

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
community

lT IS FURTHER ORDER_ED that the release of the defendant is subject to the conditions marked below:
( ) (6) Tlie defendant is placed in the custody of:

(Name of person or organization) s
(Ad dress)
(City and state) (Tel. No.)

who agrees (a) to supervise the defendant iri accordance with all the conditions of release, (b) to use every effort to assure the appearance of the defendant at all scheduled court
proceedings and (c) to notify the court immediately in the event the defendant violates any conditions ofrelease or disappears.

 

 

 

 

 

   
 

Signed:
Custodian or Proxy Date
( ) (7 Tlie defendant shall:
)< { )(a) report to the frc"\"\"\&l Se(Vl C€S OCGC¢ ,
telephone number 0 _ _ 0 , not later than .
( X) (b) e cute a bond or an agreement to forfeit upon failing to‘appear as required the following sum of money or designated property.'
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( )(C}

post with the cou the following indicia of owners ip of the above-described property, or the following amount or percentage of the above-described

 

( ){d) execute a bail bond with solvent sureties in the amount of$
( \() (e) maintain or actively seek employment

{ ) (f) maintain or commence an education program

( ){g] surrender any passport to:
( ) (h) obtain no passport

{ ) (i) abide by the following restrictions on personal association, place of abode, or travel:

 

 

( ) (j} avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to:

 

 

{ X) (k) undergo medical or psychiatric treatment and/or remain in an institution as follows: \< e h r\-\' `\"F
4 ed ` ?ce-\~¢{L\ S.en'\"~¢$.
\-J

( ) (l} return to custody each {week) day as of o’elock after being released each (week) day as of o’c]ock for employment,
schooling, or the following limited purpose(s):

 

( ) (m) maintain residence at a halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising officer.

( }<) (ii) refrain from possessing a firea , destructive device, or other dangerous weapons

( )(o) refrain from ( ) any ( ) excessive use of alcohol.

( X) (p) refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
practitioner.

( X) (q) submit to any method oftesting required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited
substance Such methods may be used with random frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system, and/or
any form ofprohibited substance screening or testing

( X ) (r) participate in a program ofinpatient or outpatient substance abuse therapy and counseling ifdeemed advisable by the pretrial services office or supervising
Ofiiceri

( ) (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy ofany prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) ofrelease.

(X) (t) participate in one of the following home confinement program components and abide by all the requirements of the program which (X ) will or
( ) will riot include electronic monitoring or other location verification system You shall pay all or part of the cost of the program based upon your ability
to pay as determined by the pretrial services office or supervising officer.

{ ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( )as directed by the pretrial
services office or supervising officer; or

( X) (ii) Home Detention. You are restricted to yourresidence at all times except for employment education; religious services; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising officer; or

( ) (iii) Home lncarceratinn. You are restricted to your residence at all times except for medical needs or treatment, religious services, and court
appearances pre-approved by the pretrial services office or supervising officer.

( )(u) report as soon as possible, to the pretrial services office or supervising officer any contact with any law enforcement personnel, including, but not limited
to, any an'est, questioning, or traffic stop.

 

 

 

 

 

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Advice of Penalties and Sanctions

 

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.

The commission of a F ederal offense while orr pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor This sentence shall be in addition to any other sentence,

or inforrnant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing.
If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of:
(l) an offense punishable by death, life imprisonment, or imprisonment for a tenn of fifteen years or more, you shall be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a terrn of five years or more, but less than fifteen years, you shall be fined not
more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted -

Acknowledgment of Defendant

l acknowledge that l am the defendant in this case and thatI am aware of the conditions of release. Ipromise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed I am aware of the penalties and sanctions set forth

1 f A :

0 Signature of Defei@ant

d o
6 Bi'rs gibson
T' Hl‘ .| 3 Address
%%r/»DZ,°S rr\/ ssi/2

City and/State Telephone n

tac ij 351?> - 3 %7
Directions to United States Marshal

( ) The defendant is ORDERED released after processing
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the appropria e
judge at the time and place specified if still in custody.

 
   

  

Date: June 3, 2005 M
ature of JudicialLOfficer

Judge Bemice B. Donald
Name and Title of Judicial Officer

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20051 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

